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 8                                  UNITED STATES DISTRICT COURT
 9                                 CENTRAL DISTRICT OF CALIFORNIA

10   ORLANDO GARCIA                                   ) Case No.: CV 20‐11426‐GW‐AFMx
                                                      )
11            Plaintiff,                              ) ORDER
                                                      )
12     v.                                             )
     DUQUESNE PROPERTIES, LLC, a California           )
13   Limited Liability Company                        )
                                                      )
14            Defendants.                             )
15
16                                               ORDER
17
18          The Court hereby vacates all currently set dates, with the expectation that the parties

19   will file a motion for determination of attorney fees/costs, and file a dismissal thereafter. The

20   Court sets an Order to Show re: Settlement Hearing for June 3, 2021 at 8:30 a.m. The parties

21   are to file a joint status report by noon on June 1, 2021.

22
     IT IS SO ORDERED.
23
24   Dated: April 20, 2021              _____________________________________
25                                      HONORABLE GEORGE H. WU
                                        United States District Judge
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27
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     Notice of Settlement             ‐1‐                 2:20‐cv‐11426‐GW‐AFM
